
| jORDER
Considering the Petition for Transfer to Disability Inactive Status filed by respondent, John D. Conry, and the response thereto filed by the Office of Disciplinary Counsel,
IT IS ORDERED that John D. Conry, Louisiana Bar Roll number 29807, be and he hereby is transferred to interim disability inactive status pending a hearing to determine the validity of his claim of inability to assist in his defense due to mental or physical incapacity, pursuant to Supreme Court Rule XIX, § 22(C). All disciplinary proceedings shall be stayed pending this determination.
Pursuant to Supreme Court Rule XIX, § 26(E), this order shall be effective immediately.
FOR THE COURT:
/s/ John L. Weimer Justice, Supreme Court Of Louisiana
